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July 31, 2023

VIA ECF

The Honorable Robert W. Lehrburger
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 18D
New York, NY 10007

       Re:      Rinat Hafizov v. BDO USA, LLP, et al.; Case No.: 1:22-cv-08853 (JPC) (RWL)

Dear Judge Lehrburger:

We represent Plaintiff Rinat Hafizov and submit this letter in reply to Defendants BDO USA,
LLP, Janet Bernier and Matthew Dyment’s (together, the “Defendants”) letter dated July 31,
2023 (Dkt. No. 95). Plaintiff respectfully submits that Defendants’ attempt to portray Plaintiff’s
counsel as being in a way dilatory with respect to ESI discovery is completely false and
disingenuous. Plaintiff has done nothing other than attempt to expeditiously advance this case
through discovery at all stages. Defendants are well aware that the reason there was a temporary
hold on the negotiations with respect to the ESI protocol was because Defendants had refused to
use numerous of Plaintiff’s proposed search terms (in fact, they even previously refused to
provide a hit report), which resulted in motion practice related to the scope of discovery, and
therefore, the conversation concerning the ESI protocol had to be held in abeyance while the
parties awaited a ruling on the pending motions to compel.

Respectfully submitted,


David E. Gottlieb

Cc:    All Counsel of Record (via ECF)
